Filed 09/05/19                                                                                        Case 19-21640                                                 Doc 104




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                                                                 Peter Cianchetta, SBN: 220971
                                                            2    CIANCHETTA & ASSOCIATES
                                                                 8788 Elk Grove Blvd., Suite 2A
                                                            3    Elk Grove, California 95624
                                                            4    Ph: (916) 685-7878
                                                                 plc@eglaw.net
                                                            5
                                                                 Attorney for Debora Leigh Miller-Zuranich
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                                                            7                            UNITED STATES BANKRUPTCY COURT
                                                            8
                                                                                          EASTERN DISTRICT OF CALIFORNIA
                                                            9
                                                                     In re:                                           Case No. 2019-21640
                                                            10
 CIANCHETTA & ASSOCIATES




                                                            11       Debora Leigh Miller-Zuranich                     DCN: PLC-06
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                      ,Debtors          Hearing Date: NONE
                               Elk Grove, CA 95624




                                                            13                                                        Hearing Time: NONE
                                                                                                                      Hon. Christopher D. Jaime
                                                            14                                                        Courtroom 32 - Dept B
                                                            15
                                                                     DECLARATION IN SUPPORT OF APPLICATION FOR ORDER SHORTENING
                                                            16                  TIME FOR HEARING ON MOTION TO EMPLOY REAL ESTATE
                                                            17                                                 SALESPERSON
                                                            18
                                                                 I, Peter Cianchetta, hereby declare and represent as follows:
                                                            19
                                                                     1. I am attorney for the Debtors in Possession, and maintain an office at 8788 Elk Grove
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                                                            21           Blvd., Suite 2A, Elk Grove, CA 95624.

                                                            22       2. The Debtor seeks to have the Court approve the Motion/Application attached hereto as

                                                            23           Exhibit A. Debtor desires to Stanley Cornelius as Real Estate Salesperson as Realtors
                                                            24           for Estate Broker for the Sale of Real Property Pursuant to 11 U.S.C. § 327(a), FED. R.
                                                            25
                                                                         BANKR. P. 2014(a), 2016(b) AND 5002.
                                                            26
                                                                     3. I believe it is in the best interests of the estate and its creditors to sell the Subject
                                                            27
                                                                         Property.
                                                            28

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                                                                    4. Stanley Cornelius is an experienced and knowledgeable real property salesman since
                                                            1

                                                            2           1992 according to his declaration.

                                                            3       5. The Debtor seeks authority to hold the hearing on September 10, 2019, at 2:00PM and

                                                            4           proposes first class mail service be given by August 30, 2019 to all parties and email
                                                            5           notice to the Counsel for the Creditor Committee and Counsel for Lessees.
                                                            6
                                                                 I declare under penalty of perjury that the foregoing is true and correct under the laws of the
                                                            7
                                                                 United States.
                                                            8

                                                            9

                                                            10   Executed this 30TH Day of August 2019 at Elk Grove, California.
 CIANCHETTA & ASSOCIATES




                                                            11
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                                          /s/ Peter Cianchetta ____________
                               Elk Grove, CA 95624




                                                                                                                        Peter Cianchetta,
                                                            13                                                          Attorney for Debtor in Possession
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